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 To the Honorable Judge T.S.Ellis III,

 My name is Munira Akhter and I am Muneeb and Sohaib’s younger sister. I am writing to tell you that my
 brothers are very good people and a benefit to society.

 They talk to me more than anyone else in our family and they have helped me in so many ways. They
 always used to help me with my Math, Science, and Computer projects when I was back in school.
 Muneeb and Sohaib also supported me when I wanted to pursue a degree in Arts and my parents tried
 to discourage me from it as it would not land a good job.

 My brothers told me I could do anything and agreed to help me through my creative projects.

 Muneeb and Sohaib also do a lot of pro bono work. There was an elderly man our family knew that got
 into a car accident which made him loose his job. Later on he opened a fish restaurant and needed help
 setting up his store. My brothers were quick to help him out, they designed a whole website (which
 Sohaib paid for out of his own pocket for the URL) and a menu for the man’s restaurant and my brothers
 also rearranged the furniture for him. They worked day and night at his shop for a good 3 days. At the
 end the elder man wanted to give them a free meal as thanks for their hard work, and Muneeb humbly
 refused and said that he would pay for the meal. When they got back home I couldn’t even believe they
 would work so hard for someone and get nothing in return. They actually ended up spending their own
 money to help him. They really are selfless when helping other people. They don’t usually spend money
 on themselves, but they’ll use it to buy something for their family and friends.

 At University they would help their friends with their homework and projects and would sometimes stay
 on campus until midnight just so they can help their friends finish their work. I however saw this as
 something to be cautious of as many people were starting to take advantage of them, especially girls
 who all conveniently had financial problems. My parents and I noticed that my brothers would be easily
 influenced by their friends to do favors for them, like giving them rides, paying for their meals at
 restaurants and other bills, etc.

 I know Muneeb and Sohaib are good people. They just got influenced and controlled by the wrong
 people.

 I ask that you have leniency on my brother’s sentence as they are genuinely a benefit to society.



 Sincerely,

 Munira Akhter
